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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

MARCOS RAYOS, #311171,                             )
                             Plaintiff,            )
                                                   )      No. 1:15-cv-1153
-v-                                                )
                                                   )      Honorable Paul L. Maloney
WILLIE SMITH, et al.,                              )
                             Defendants.           )
                                                   )

  ORDER ADOPTING REPORT AND RECOMMENDATION AND DISMISSING
                    DEFENDANT THURLBY

       Plaintiff Marcos Rayos, a prisoner under the control of the Michigan Department of

Corrections (MDOC), filed a civil rights lawsuit against multiple MDOC employees.

Defendant Lloyd Thurlby is sued in his personal and official capacities. Thurlby, passed

away in July 2018. A notice of death was filed in August 2018.

       The magistrate judge issued a report recommending the claims against Thurlby be

dismissed. (ECF No. 216.) Plaintiff filed objections. (ECF No. 217.) After being served

with a report and recommendation (R&R) issued by a magistrate judge, a party has fourteen

days to file written objections to the proposed findings and recommendations. 28 U.S.C. '

636(b)(1); Fed. R. Civ. P. 72(b)(2). A district court judge reviews de novo the portions of the

R&R to which objections have been filed. 28 U.S.C. ' 636(b)(1); Fed. R. Civ. P. 72(b)(3).

       Plaintiff makes two arguments. First, Plaintiff states he was given bad advice by his

appointed legal writer, who advised that official capacity claims do not abate upon the death

of the named defendant. Second, Plaintiff requests the Court substitute Debbie Thurlby as

the new defendant. Plaintiff contends Debbie Thurlby is the "executioner" of Lloyd's estate.
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       The Report and Recommendation (ECF No. 216) is ADOPTED as the Opinion of

this Court. Plaintiff's objections are overruled. The claims against Lloyd Thurlby are

DISMISSED. Plaintiff did not timely seek to substitute the estate as the proper party. See

Fed. R. Civ. P. 25(a)(1). Plaintiff's official capacity claim will survive Thurlby's dismissal

because Plaintiff has sued multiple defendants in their official capacities. All of those claims

are functionally claims against the same entity.

       IT IS SO ORDERED.

Date: November 27, 2018                                       /s/ Paul L. Maloney
                                                           Paul L. Maloney
                                                           United States District Judge




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